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AO 91 (Rev. 02/09) Criminal Complaint




              tlnf,'ted States Df,strf,c'fi Courf
                                                          forthe
                                             'Western
                                                        District of New York                   APR 2       5   2018




                           United States of America

                                        v.                                        case No. t8-Mr-          4O4L
                                 DAVID BILLS,
                                                   Defendant




                                               CRIMINAL COMPLAINT

         I, KATHRYN M. GAMBLE, the complainant in this             case, state that the following is true to the best of my
knowledge andbelief that in the Western District of New York, the defendant violated offenses described as follows:

       Between on or about April 24,2018 and April 25,2018, in the Westem District of New York and
elsewhere, the defendant, DAYID BILLS, did use afacrlity or means of interstate commerce to knowingly
persuade, induce, entice or coerce a minor to engage in a sexual activity; with the belief that the individual
has not affained the age of 18 years or attempted to do so, as defined in Title 18, United States Code, Section
2422@).


SEE   ATTACIIED AFFIDAVTI OF SPECIAL AGENT KATTIRYN M. GAMBLE, HSI.

         This Criminal Complaint is based on these facts:


         tr   Continued on the altached sheet.



                                                                   SA KATHRYN M. GAMBLE (HSI)
                                                                                     Printed name and title
Sworn to before me and signed in my presence.

Date: Apri125,2018
                                                                                     Judge's signature


                                                                HONORABLE MARIAN W. PAYSON
City and State: Rochester. New York                             UNITED STATES MAGISTRATE ruDGE
                                                                                   Pinted name and title
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                                              AFFIDAVIT
                                                                              tf-ry-4t$b
STATE OF NEWYORK                )
couNTY oF MONROE                )       SS:
CITY OF ROCHESTER )


         I, Kathryn M. Gamble, being duly sworn, depose and state the following:


         1.     I am a Special Agent with      the Department of Homeland Security, Homeland

Security Investigations    ("HSI"). I   have been employed as a Special Agent since June 2008.

I   am currently assigned to ttre HSI Special Agent in Charge in Buffalo, New        York. As part

of my darly dries as a Special Agent with HSI,                I   investigate crimes involving child

exploitation and child pornography including violations pertaining to the ffansportation,

production, distribution, receipt, and possession of child pomogaphy, in violation of Title

18, United States Code, Sections 2252 and 2252A.          I   investigate crimes involving coercion

and enticement in violation of Title 18, United States Code Sections 2a22@) and2422@).             I
have received formal and on the job training in the area of child pornography and child

exploitation. I have participated in the execution ofnumerous search waffants involving child

pomography and the seizure of computers and other storage media. I have interviewed many

individuals involved in child pomogaphy and the sexual exploitation of children.



         2.    I   make this affidavit   in suppoft of a criminal complaint       charging DAVID

BILLS, with    a   violation of Title 18, United States Code, Section 2422@) (Did use a facdtty

or means of interstate commerce to knowingly persuade, induce, entice or coerce a minor to

ergage in a sexual activity; with the belief that the individual has not affained the age of 18

years or affempted to do so).
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          3.       All information contained in this affidavit is either personally known by me or

has been related to me by other law enforcement agents. Since this affidavit is being submitted

for the limited pu{pose of securing a criminal complaint, I have not included each and every

fact known to me conceming this investigation. I have set forth only the facts that I believe

are necessary to establish probable cause to believe that     DAVID BILLS did knowingly violate

Title   18,   United States Code, Section 2422@).



         4.        On or about April 24, 2AL8, an undercover New York State Police (NYSP)

Investigator (the UC) posted the following on the mobile application Whisper, "New 2 the

area". The UC profile on Whisper lists the following, "Female,            15-17 years   old". The UC
received aprivate message from Whisper user "some clever name", with the following profile

information, "Male 26-29 years old", later identified    as   DAVID BILLS, (hereinafter refened

to as, "the defendant. The private message read, "Let's have some fun today. Good looking

fit hung guy here. Say hello". The UC asked the defendant how old he was and he replied,

"r am 23 . Am I too old?". The uC provided, "Im 13. Like if you dont wann a tak 2 me i
get   it. And idc how old u r lmao".    The defendant "loves" thathe is not too old and asks the

UC if she has any free time, "we should hang out,,.



         5.       The defendant goes on to tell the UC that he is lookingfor a "cuddle buddy"

andthatthey "should cuddle somefime". The defendant            asks the   UC if she has any picnrres

to share. The defendant then asks the UC if she has school tomorrow and the UC tells the

defendant that she doesn't start school until next week, since she just moved to the area. The

defendantreplies, "So you have time alTday tomorrow? Can I come see you?". The UC tells
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the defendantthat she has never met anyone like this before and the defendant replies,                "I am

totally normal and cool. You will have no issues with me. Look at it this way. You are

under age.        If I   caused any issues you can get me in a lot of trouble.      I   could be there in 10

minutes if you want to see me            now." The UC tells the defendant that tomorrow would be
beffer since her grandma will be home soon. The defendant replies, "Perfect. What do you

like to do with a gty?". The UC            te1ls   the defendant, "Idk I nevs hung out w a older gtryb4'.

Like what u like 2 do w a gtl besides cuddle 1o1". The defendant replies, "I like all things.

What do you like? I want you to be comfortable"; "We can cuddle and talk, Take it from

there. Have you had           sex   before?". The UC replies that she has not had sex before. When

the defendant asks what she has done with a guy, the UC says she has only ever kissed a guy.

The defendant replies, "Maybe we can do more".



          6.        The defendant agarn asks the UC for a picture. The UC sends an undercover

photo depicting a female appearing to be approximately 13 years o1d. The defendant replies,

"you are too cute. What time are you free tomorrow?". The UC then asks for a photo from

the defendant. The defendant sends a photo of a white male, wearing a Nike polo shirt and

a backwards baseball          cap. The UC tells the defendant that      she has   to go and the defendant

replies, "Do you really think you will meet me tomorrow?", the UC replies, "IJmmm like do

u really wanna?? Like I like u and ur cute and stuffbut if u don't like me qtz Im 13 I get it

'./"   . The defendant responds, "l       am game if you are".



          7   .     The defendant and the UC engage in further conversation. The defendant tells

the UC,       "f am excited to be talking to you. I hope you are too". The defendant asls the UC,
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 "Can you sneak out and see me afterhet (grandma's) bedtime? (devil emoji),,. The defendant

 states,    "ff you'Ie able to sneak out you should.     Send me your address. I will be there. If you

 don't feel comfortable with it we can always wait till tomorrow. I just want to meet you.,,

 The UC tells the defendant that she would rather wait until tomorrow. The defendant tells

 the UC,        "I really do like you.   Ages just a number to     me. I worry that you don,t like me or
 think I am ugly because I am older. I think you are too good to be true.              I amprepared   for
 you to block me or ghost me.".



           8.        The defendant tells the UC that he wants to "cuddle with you in your panties,,.

The defendant tells the UC thatitmakes him nervous to say what he wants to be because, ,,to

be honest, this is illegal. It makes me nervous to type out a bunch of detaiIs,,. The
                                                                                      defendant
goes on to say,       "'Will you let me take your panties   ofl".     The defendant then asks the UC to

send him a picnrre          of herself holding up three (3) fingers. The defendant wants            this
personalized photo because, "It's dumb but           I worry yo I could be a cop. Lot. I worry. It,s
what   I do." The UC tells the defendant that         she is more comfortable talking on    KIK where
you can tell if pictures are sent "live". The defendant tells the UC he is downloading
                                                                                       KIK
and send his username as, "Stevem8675',,*kikme,'.




        9   .       On April 24, 2078, at approximately     1   1:00 PM EST, the UC sends a Kik privare

message to user, "Stevem867 5" , readin1, "h7"       . The defendant provides that his name is Steve
and the UC states that her name is ,,Madi,,.




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            10.   On April 25,2018, the UC sends a "live" photo of herself to the defendant.

The photo is an undercover photo depicting a female appeafingto be approximately 13 years

old. The defendant replies, "Ifow     are   yor? Do I still get to   see   you today?', and tells the UC
to let him know when her grandmother leaves. The UC asks for a photo of the defendant
                                                                                      and

he sends a live picrure of himself. The picrure depicts a white male lying in bed. The

defendant then requests a picture of the UC holding up three (3) fingers agatn. The d.efendant

tells the UC that he is very neryous about meeting her today. The defendant tells the UC, ,,I

want to kiss your breasts. Lay in our panties. Maybe take your panties off... ". The defendant

tells ttre UC that he wants to "touch you. To go down on you. Let's not go all the way.
                                                                                        We
should both do it to each other. I want to show you.,,




        1   1.    On April 25, 2018, DAVID BILLS arrived at the scheduled meeting place with

the   UC. BILLS provided his name,      date   of btth and showed identification confirming his

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information. A\
UC- ,",.-&5 Cou,dug|ed \ln,cLr}-' H^'e- U5e o+ 6-ry\lo\a-
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       WHEREFORE, based on the foregoing,             I   respectfully submit that there is probable

cause to believe ttrat   DAVID BILLS did knowingly violate Title 18, United            States Code,

Section 2422(b), (Use a facility or means of interstate commerce to knowingly persuade,

induce, entice or coerce a minor to engage         in a sexual activity; with ttre belief that the
individual has not attainedthe age of   18 years   or attempted to do so).
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                                             ,,il'/(&ld.A=\,
                                            KATHRYN M. ca]ilerB
                                            Special Agent
                                            Homeland Security Investigations

Swom to before me this

$   auv of    April, 2078.
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MARIAN W. PAYSON
United States Magistrate Judge
